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                                                                      Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS


MARY MOORE, individually and on behalf of      Case No. 3:22-CV-03172
all others similarly situated,
                                               The Honorable Sue E. Myerscough
             Plaintiff,

       v.

KELLOGG SALES COMPANY,

             Defendant.



          REPLY IN SUPPORT OF KELLOGG SALES COMPANY’S
       MOTION TO DISMISS PLAINTIFF’S CLASS ACTION COMPLAINT

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                      REPLY IN SUPPORT OF MOTION TO DISMISS

       In her opposition brief, Plaintiff repeatedly cites the Seventh Circuit’s decision in Bell v.

Publix Super Markets, Inc., 982 F.3d 468 (7th Cir. 2020) to support her allegation that the labeling

of Kellogg’s Harvest Wheat Toasteds Crackers falsely suggests that the crackers contain more

whole grains and fiber than they do. See generally Opp’n at 2–6. But nothing in Bell even remotely

supports Plaintiff’s implausible interpretation of Kellogg’s labeling.

       In Bell, the Seventh Circuit held that the plaintiffs had stated a plausible claim of deception

by alleging that the phrase “100% Grated Parmesan Cheese” was misleading because the product

contained other ingredients, including cellulose and potassium sorbate. See 982 F.3d at 481–82

In reaching that conclusion, the court emphasized that it had “no quarrel with defendants’ ability

to call their products ‘grated cheese.’” Id. at 481. Instead, the Seventh Circuit explained, “[t]he

problem lies in the ‘100%.’” Id. But in contrast to Bell, where the court held that the statement

“100% Grated Parmesan Cheese” could plausibly suggest that the sole ingredient in the product

was parmesan cheese, the labeling of Harvest Wheat Toasteds Crackers does not even reference

whole grains or fiber. It is therefore implausible that a reasonable consumer could construe any

aspect of Kellogg’s labeling—including the phrase “Harvest Wheat” or an image of the crackers

with dark specks—to mean that the crackers contain a specific amount of whole grains or fiber.

       Plaintiff construes Bell to stand for the broad proposition that if there is any conceivable

dispute about the meaning of a labeling term, it is inappropriate to dismiss a false advertising

lawsuit. See Opp’n at 3. Bell holds no such thing. Rather, Bell reaffirmed the longstanding rule

that “where plaintiffs base deceptive advertising claims on unreasonable or fanciful interpretations

of labels or other advertising, dismissal on the pleadings may well be justified.” Bell, 982 F.3d at

477. Consistent with that commonsense rule, courts following Bell have continued to dismiss false

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advertising lawsuits—including several brought by Plaintiff’s counsel here—where the labeling
                                         1
was “not misleading as a matter of law.” Hamidani v. Bimbo Bakehouse LLC, No. 22-1026, 2023

WL 1657513, at *2 (N.D. Ill. Jan. 12, 2023) (citing Bell, 982 F.3d at 477).

       Hamidani, which another Illinois federal court decided two weeks ago, is especially

instructive. There, as here, the plaintiff alleged that the defendant’s brown bread—which included

molasses and caramel color to “make[] the Bread appear darker in color” and featured “oat and

rye flakes dispersed on its top crust”—“deceived her into thinking that the Bread contained more

whole grains than refined grains.” Hamidani, 2023 WL 1657513, at *1. The court dismissed this

lawsuit and found that “the Bread’s appearance and label makes no explicit or implicit

representations about the proportion of whole grains in the Bread’s ingredients.” Id. at *3. In so

holding, the court made clear that the “brown color of the bread . . . does not guarantee its precise

whole grain content.” Id. The court also agreed that the “presence of oat and rye flakes on the

exterior of the Bread does not move the needle,” as “[n]o reasonable consumer could conclude

what percentage of whole wheat the Bread contains merely by these toppings.” Id. Absent any

“plausible deception in the Product’s packaging or physical appearance,” the court concluded that

“Plaintiff’s interpretation of the Product’s representations is unreasonable.” Id.

       Hamidani is hardly an outlier. To the contrary, courts throughout the country have agreed

that “where a product nowhere uses the phrase ‘whole grain’ or any synonym or type thereof, the


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  See also, e.g., Floyd v. Pepperidge Farm, Inc., 581 F. Supp. 3d 1101, 1109 (S.D. Ill. 2022)
(dismissing lawsuit filed by Plaintiff’s counsel alleging that the term “Golden Butter” crackers
misled consumers into believing that the crackers contained “butter and a non-de minimis amount
of butter substitutes” and holding that the labeling of the crackers was not misleading as a matter
of law); Chiappetta v. Kellogg Sales Co., No. 21-3545, 2022 WL 602505, at *5 (N.D. Ill. Mar. 1,
2022) (dismissing lawsuit filed by Plaintiff’s counsel alleging that the labeling of Strawberry Pop-
Tarts exaggerated their strawberry content and holding that the plaintiff’s “interpretation of the
labeling is unreasonable and unactionable”).
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Court will not infer that the reasonable consumer shopping reasonably would mistake the product

for being predominantly whole grain, absent specific allegations to the contrary.” Randolph v.

Mondelēz Global LLC, No. 21-10858, 2022 WL 953301, at *2 (S.D.N.Y. Mar. 30, 2022); see also

Romero v. Flowers Bakeries, LLC, No. 14-5189, 2016 WL 469370, at *6–7 (N.D. Cal. Feb. 8,

2016) (dismissing lawsuit alleging that packaging of “Honey Wheat” and “Whitewheat” bread,

which included claims such as “healthy grains” and “wholesome wheat,” falsely suggested the

bread contained “whole wheat”). None of the cases Plaintiff cites compel a contrary conclusion.

For example, Ang v. Bimbo Bakeries USA, No. 13-1196, 2013 WL 5407039 (N.D. Cal. Sept. 25,

2013) involved products that were labeled with the phrases “Whole Grain White Bread,” “100%

Whole Wheat Bread,” and “Excellent Source of Fiber,” which are explicit statements about whole

grains and fiber. And Plaintiff makes zero effort to explain the reasoning of the two District of
                                                                                                      2
Columbia Superior Court cases she cites or to articulate why those cases control the outcome here.

       In short, the labeling of Kellogg’s Harvest Wheat Toasteds Crackers does not include any

representation about the presence of whole grains or fiber. That is fatal to Plaintiff’s lawsuit, as it

is axiomatic (even after Bell) that “a statement or label cannot mislead unless it actually conveys

untrue information about a product.” Floyd, 581 F. Supp. 3d at 1109 (citing Bober v. Glaxo

Wellcome PLC, 246 F.3d 934, 938 (7th Cir. 2001)). Nothing in Bell or Plaintiff’s opposition brief

salvages her claims of deception, and this Court should dismiss her lawsuit with prejudice.




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  See Opp’n at 4 (citing Nat’l Consumers League v. Doctor’s Assocs., Inc., No. 2013-6549, 2014
WL 4589989 (D.C. Super. Ct. Sept. 12, 2014) and Nat’l Consumers League v. Bimbo Bakeries
USA, No. 2013-6548, 2015 WL 1504745 (D.C. Super. Ct. Apr. 2, 2015)). Notably, these cases
pre-date Hamidani, Randolph, and Romero, do not apply Illinois or Seventh Circuit law, and are
state court cases in which the plaintiff’s allegations were not subject to the plausibility
requirements set forth in Ashcroft v. Iqbal, 556 U.S. 662 (2009).
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Dated: January 26, 2023                     Respectfully submitted,


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